






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-588 CV


____________________



TEXAS DEPARTMENT OF PUBLIC SAFETY, Appellant



V.



PAMELA JEAN FERGUSON, Appellee






On Appeal from the County Court at Law No. 3


Montgomery County, Texas


Trial Cause No. 03-16661






MEMORANDUM OPINION (1)


	The Texas Department of Public Safety, appellant, and Pamela Jean Ferguson,
appellee, filed a joint motion to reverse the trial court's judgment and render a judgment
affirming the judgment of the State Office of Administrative Hearings.  The joint motion
is granted and the appeal is disposed of pursuant to the agreement of the parties presented
by joint motion to the Court.  Tex. R. App. P. 42.1(a)(2)(A).  Accordingly, we reverse the
judgment of the trial court and render judgment reinstating the administrative order
authorizing the Department of Public Safety to suspend or deny driving privileges to
Pamela Jean Ferguson for 180 days.

	All costs are assessed against the incurring party.

	REVERSED AND RENDERED.	

										PER CURIAM

Opinion Delivered April 22, 2004

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


